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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                McALLEN DIVISION

UNITED STATES DISTRICT COURT,       §
                                    §
       Plaintiff                    §
                                    §
v.                                  §
                                    §                     CIVIL NO. 7:20-CV-00344
2.1185 ACRES OF LAND, MORE OR LESS, §
SITUATED IN STARR COUNTY, STATE OF §
TEXAS, MARIA DEL ROSARIO G.         §
RAMIREZ, et al.,                    §
                                    §
       Defendants                   §

                                NOTICE OF APPEARANCE

       Please take notice that the undersigned counsel, Flor E. Flores, THE LAW FIRM OF FLOR E.
FLORES, PLLC, hereby makes an appearance on behalf of Marco Antonio Flores, Nora Linda
Flores and Alicia Sutherland.
                                           Respectfully submitted,


                                           By: /S/Flor E. Flores
                                                Flor E. Flores
                                                Federal Bar No. 1096206
                                                State Bar No. 24065235
                                                Attorney for Defendant

                                                THE LAW FIRM OF FLOR E. FLORES, PLLC
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                                                Rio Grande City, Texas 78582
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                               CERTIFICATE OF SERVICE

       I, Flor E. Flores, hereby certify that on this the 19th day of May 2021, a true and correct

copy of the foregoing Notice of Appearance was delivered to all counsel of record in accordance

with Federal Rules of Civil Procedure, via ECM/EF.



                                                    /S/   Flor E. Flores
                                                    Flor E. Flores
